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19                         NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION
20
21
                                                    Case No. 4:20-cv-03919-CW
22
                                                    OBJECTORS’ PARTIAL OPPOSITION
23   IN RE COLLEGIATE ATHLETE NIL                   TO JOINT MOTION FOR APPROVAL
     LITIGATION                                     OF ADDITIONAL SETTLEMENT CLASS
24                                                  COMMUNICATIONS
25                                                  Hon. Claudia Wilken
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                     OBJECTORS’ PARTIAL OPPOSITION TO JOINT MOTION FOR APPROVAL
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 1                                          INTRODUCTION

 2          When this Court denied preliminary approval of the original settlement agreement, it

 3   noted, “taking . . . things away from people is usually not too popular.” Dkt. 525 (“Hr’g Tr.”) at

 4   71:17-18. The Amended Settlement Agreement does just that. It proposes roster limits that

 5   deprive thousands of student-athletes the opportunity to compete in sports they love. The

 6   proposed question-and-answer document (“Q&A”) provides misleading and incomplete

 7   information on the harm the proposed roster limits inflict. Accordingly, this Court should reject

 8   it and require a fair and accurate Q&A.

 9                                             BACKGROUND

10          Roster Limits

11          The National Collegiate Athletic Association (“NCAA”) does not currently impose any

12   rules on team roster sizes. Instead, it imposes scholarship limits per sport at each school. See
13   Dkt. 535-2 at 70, art. 4 § 1. The Amended Settlement replaces scholarship limits with roster

14   limits. Id. at 129-33 (Appendix B). The roster limits set a maximum team size for each sport,
15   and permit schools to “unilaterally” reduce the number of sports offered. Id. at 133.
16          Many of the roster limits drastically reduce the roster sizes currently maintained for many
17   sports. For example, cross country rosters often exceed thirty or more runners, but the Amended
18   Settlement decreases those to seventeen. 1 To comply with the roster limits, schools must cut
                                                0F




19   players from existing teams, limit incoming recruits, and eliminate walk-ons. The result is a
20   dramatic decrease in the total number of roster spots across all college sports, whether or not
21   athletes earn a scholarship.
22          The roster limits already have inflicted harm. Anticipating them, schools have cut student-
23   athletes from teams. Student-athletes have flooded the transfer portal, making finding a new team
24
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     1
      Ross Dellenger, Historic House-NCAA Settlement Leaving Hundreds of Olympic Sport Athletes in Peril,
     Yahoo! Sports (Oct. 25, 2024), https://bit.ly/3DnSGum.
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 1   often challenging. 2 Dedicated high school students who toiled to play in college have had
                        1F




 2   promised roster spots rescinded. And because they had already committed to a school, they have

 3   been foreclosed from pursuing opportunities to play for another. 3 Thousands of student-athletes
                                                                        2F




 4   who honored one set of rules are seeing their lives upended and dreams shattered because another

 5   set of rules is being arbitrarily forced on them.

 6           Students and parents have pleaded with the Court to reject the Amended Settlement’s

 7   roster limits. See Dkts. 573, 574, 575, 579. Numerous other student-athletes and parents have

 8   contacted Objectors’ counsel to express their concerns about the roster limits, and Objectors’

 9   counsel have shared this with Class Counsel. See Ex. A. The parties are well aware of the damage

10   caused by roster limits. But they’ve chosen not to mitigate this awful situation.

11           The Proposed Q&A

12           The parties address roster limits in their proposed Q&A. Dkt. 581-1. It reads:
13                  Question No. 4: Is a student-athlete’s roster spot guaranteed?
14                  Answer: No. As has always been true, schools have complete
                    discretion whether to include a student-athlete on a particular
15
                    team. Schools that choose to opt-in to the settlement by providing
16                  additional benefits, including additional scholarships or payments
                    for use of NIL, are bound by set roster sizes. Decisions related to
17
                    those available roster spots are up to the school, regardless of
18                  whether a school provides additional benefits or NIL payments.
19   Id. at 1.
20                                              ARGUMENT
21           Absent class members cannot make informed decisions about a class action unless they
22   “ ‘receive accurate and impartial information regarding the status, purposes and effects of the
23   class action.’ ”   Chalian v. CVS Pharmacy, Inc., No. 2:16-CV-8979-AB-AGR, 2020 WL
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25
     2
       Eddie Pells, Roster Limits in College Small Sports Put Athletes on Chopping Block While Coaches Look
26   for Answers, Associated Press (Nov. 12, 2024), https://bit.ly/3P4xigj (“Athletes on Chopping Block”).

27
     3
      Dan Murphy and Michael Rothstein, Pending NCAA Settlement, Roster Limits Pose National Signing Day
     Uncertainty, ESPN (Nov. 11, 2024), https://bit.ly/49QQEiO (“National Signing Day Uncertainty”).
28                                                       2
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 1   7347866, at *3 (C.D. Cal. Oct. 30, 2020) (emphasis added) (quoting Kleiner v. First Nat’l Bank

 2   of Atlanta, 751 F.2d 1193, 1202 (11th Cir. 1985)). Parties “ may not give ‘false, misleading, or

 3   intimidating information, conceal material information, or attempt to influence’ ” class members’

 4   decisions to “ ‘request exclusion’ ” from a certified class. County of Santa Clara v. Astra USA,

 5   Inc., No. C 05-03740 WHA, 2010 WL 2724512, at *3 (N.D. Cal. July 8, 2010). Misleading

 6   communications to class members “pose a threat to the fairness of the litigation process, the

 7   adequacy of representation and the administration of justice.”         In re Apple Inc. Device

 8   Performance Litig., No. 18-MD-02827-EJD, 2018 WL 4998142, at *4 (N.D. Cal. Oct. 15, 2018).

 9   “[O]missions and failure to provide enough information” are enough to render class

10   communications misleading. Astra USA, Inc., 2010 WL 2724512, at *3. The proposed Q&A

11   does just that.

12           The Proposed Q&A Is Misleading
13           Question No. 4 misleadingly implies that schools’ discretion is currently bound by set
14   roster sizes under NCAA rules. It is not. The Amended Settlement imposes those boundaries.
15   This incomplete Q&A “ ‘will surely result in confusion’ ” among potential Class Members and
16   must be corrected. Dkt. 581 (“Mot.”) at 3 (quoting Erhardt v. Prudential Grp., Inc., 629 F.2d
17   843, 846 (2d Cir. 1980)).
18           Posing the question—“Is a student-athlete’s roster spot guaranteed?”—is itself
19   misleading. The issue is not whether roster spots are guaranteed. The issue is whether the
20   Amended Settlement changes the availability of roster spots. The parties would rather not answer
21   that question, so they have proposed answering a carefully crafted softball instead.
22           It is not true that schools will continue to have “complete” discretion about “whether to
23   include a student-athlete on a particular team.” Dkt. 581-1 at 1. The Amended Settlement will
24   replace schools’ prior “complete” discretion to select team rosters with limited discretion. Any
25   Division I school that opts in to the Amended Settlement may not choose to honor preexisting
26   written or verbal “guarantees” regarding a current or prospective student-athlete’s roster spot.
27   The Amended Settlement requires teams to cut from somewhere—either their existing athletes,
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                       OBJECTORS’ PARTIAL OPPOSITION TO JOINT MOTION FOR APPROVAL
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 1   future athletes, or, more likely, both. The proposed Q&A therefore omits the most important

 2   information about how the Amended Settlement changes the state of play for countless student-

 3   athletes.

 4             The Q&A Should Be Corrected

 5             Question No. 4 must be corrected to provide Class Members with fair and accurate

 6   information about the Amended Settlement. Objectors propose modifying it as follows, with

 7   proposed additions in bold underline, and deletions in strikethrough:

 8                    Question No. 4: If a school has guaranteed me a roster spot, am
                      I at risk of losing that spot because of the settlement? Is a student-
 9                    athlete’s roster spot guaranteed?
10                    Answer: No. As has always been true, s Yes. Under current rules,
11                    schools have complete discretion about how many student-
                      athletes to include on a particular team, and schools may have
12                    as many student-athletes on their teams as they choose. Under
                      the settlement, that will no longer be the case. Schools that
13                    choose to opt-in to the settlement by providing additional benefits,
14                    including additional scholarships or payments for use of NIL, are
                      will be bound by set roster sizes established by the NCAA. They
15                    may have to cut existing student-athletes from teams. Decisions
                      related to those available roster spots are up to the school, regardless
16                    of whether a school provides additional benefits or NIL payments.
17   This proposed modification accurately reflects the effect of the Amended Settlement. It will aid
18   “potential Class Members in making informed decisions regarding the pending Settlement if
19   approved.” Mot.at 3.
20                                              CONCLUSION
21             Objectors respectfully request that, if the Court enters an Order approving publication of
22   the parties’ proposed Q&A, the Court correct Question No. 4 prior to publication as described
23   herein.
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